






Opinion issued January 11, 2007










In The

Court of Appeals

For The

First District of Texas






NO. 01-06-00367-CV






JOSEPH JEAN, Appellant


V.


PHOUMMARATH KHONGSAVAY, Appellee






On Appeal from the 334th District Court

Harris County, Texas

Trial Court Cause No. 2006-05462






MEMORANDUM OPINION	Appellant Joseph Jean has failed to timely file a brief.  See Tex. R. App. P.
38.8(a) (failure of appellant to file brief).  After being notified that this appeal was
subject to dismissal, appellant did not adequately respond.  See Tex. R. App. P.
42.3(b) (allowing involuntary dismissal of case).

	The appeal is dismissed for want of prosecution for failure to timely file a brief. 
All pending motions are denied.

PER CURIAM

Panel consists of Justices Nuchia, Keyes, and Higley.


